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   IT IS ORDERED as set forth below:



   Date: August 11, 2022
                                                       ________________________________
                                                                   Paul Baisier
                                                           U.S. Bankruptcy Court Judge

  _______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                        :       CASE NO. 22-52950-PMB
                                               :
 ATLANTA LIGHT BULBS, INC.,                    :       CHAPTER 7
                                               :
                Debtor.                        :       JUDGE BAISIER


                          ORDER AND NOTICE
      ESTABLISHING BAR DATE FIXING TIME FOR FILING GAP CLAIMS AND
              CHAPTER 11 ADMINISTRATIVE EXPENSE CLAIMS

        S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the

 “Estate”) of Atlanta Light Bulbs, Inc., Debtor (the “Debtor”) in the above captioned case (the

 “Case”) has filed a Motion to Set Bar Date for Gap Claims and Chapter 11 Administrative Expense

 Claims Exclusive of Professional Fees [Doc. No. 126] (the “Motion”). In the Motion, the Trustee

 requests the entry of an order establishing a bar date for the filing of a request for allowance and




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 payment of Gap Claims under 11 U.S.C. § 502(f) or administrative expenses claims (“Chapter 11

 Administrative Claims”) as defined in 11 U.S.C. § 503, including under 11 U.S.C. § 503(b)(9),

 arising during the Chapter 11 Case herein. “Gap Claims” are claims arising in the ordinary course

 of the Debtor’s business or financial affairs on or after April 15, 2022, the date of the involuntary

 petition, through May 22, 2022, the day before the entry of the order of relief. Upon review of

 same, it is

         ORDERED that the Motion be, and the same hereby is, GRANTED as follows, and it is

         ORDERED, GAP CLAIMS ARE CLAIMS ARISING IN THE ORDINARY

 COURSE OF THE DEBTOR’S BUSINESS OR FINANCIAL AFFAIRS ON OR AFTER

 APRIL 15, 2022, THE DATE OF THE INVOLUNTARY PETITION, THROUGH MAY 22,

 2022, THE DAY BEFORE THE ENTRY OF THE ORDER OF RELIEF.

         ORDERED,         CHAPTER 11 ADMINISTRATIVE CLAIMS ARE CLAIMS

 ARISING ON OR AFTER MAY 23, 2022, THE DATE ON WHICH THE ORDER FOR

 RELIEF WAS GRANTED HEREIN, THROUGH JULY 6, 2022, THE DATE PRIOR TO

 THE DATE OF CONVERSION OF THIS CASE TO A CHAPTER 7 CASE.

         ORDERED AND NOTICE IS HEREBY GIVEN that, other than the Chapter 11 Trustee,

 professionals of the Chapter 11 Trustee, or any person or entity who has previously filed a request

 for the allowance or payment of Gap Claims or Chapter 11 Administrative Claims, each creditor

 and party-in-interest who has or asserts any Gap Claims under 11 U.S.C. § 502(f) or Chapter 11

 Administrative Claims against the Debtor pursuant to 11 U.S.C. § 503, including under 11 U.S.C.




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 503(b)(9), arising from the Chapter 11 Case herein SHALL FILE A REQUEST FOR

 ALLOWANCE OF SUCH CLAIMS WITH:

                              Clerk, United States Bankruptcy Court
                              Room 1340, Russell Federal Building
                                  and United States Courthouse
                                     75 Ted Turner Drive, SW
                                      Atlanta, Georgia 30303

        ON OR BEFORE SEPTEMBER 26, 2022 (the “Chapter 11 Gap and Administrative

 Claims Bar Date”). A copy of the completed request should also be mailed to counsel for the

 Trustee at the following address: Law Offices of Henry F. Sewell, Jr., LLC, c/o Henry F. Sewell,

 Jr., Esq., Buckhead Centre, 2964 Peachtree Road NW, Suite 555, Atlanta, GA 30305; it is further

        ORDERED AND NOTICE IS HEREBY GIVEN that all requests for allowance of Gap

 Claims or Chapter 11 Administrative Claims addressed by this Order must be filed no later than

 the Chapter 11 Gap and Administrative Claims Bar Date of September 26, 2022. The Chapter

 11 Gap and Administrative Claims Bar Date is the last day for a claimant, other than the Chapter

 11 Trustee, any professionals of the Chapter 11 Trustee or any person or entity who has previously

 filed a request for the allowance or payment of all Gap Claims and Chapter 11 Administrative

 Claims to file a request for allowance of any Gap Claims under 11 U.S.C. § 502(f) or Chapter 11

 Administrative Claims against the Estate or the Debtor under 11 U.S.C. § 503. To assert any Gap

 Claims or Chapter 11 Administrative Claims in the Case, claimants may use, as applicable, the

 Chapter 11 Administrative Claim Form attached as Exhibit A to this Order (the “Administrative

 Claim Form”) or the Gap Claim Form attached as Exhibit B to this Order (the “Gap Claim

 Form” and collectively, the “Claim Forms”). The Claim Forms are approved; and it is




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         ORDERED AND NOTICE IS HEREBY GIVEN THAT ANY CLAIMANT, OTHER

 THAN THE CHAPTER 11 TRUSTEE, ANY PROFESSIONALS OF THE CHAPTER 11

 TRUSTEE, OR          ANY PERSON OR ENTITY WHO HAS PREVIOUSLY FILED A

 REQUEST FOR THE ALLOWANCE OR PAYMENT OF ALL GAP CLAIMS AND

 CHAPTER 11 ADMINISTRATIVE CLAIMS WHO DOES NOT FILE A REQUEST FOR

 ALLOWANCE OF ITS GAP CLAIMS AND CHAPTER 11 ADMINISTRATIVE CLAIMS BY

 THE CHAPTER 11 GAP AND ADMINISTRATIVE CLAIMS BAR DATE MAY BE

 FOREVER BARRED FROM ANY RECOVERY FOR ANY SUCH GAP CLAIMS AND

 CHAPTER 11 ADMINISTRATIVE CLAIMS; and it is

         ORDERED AND NOTICE IS HEREBY GIVEN that Counsel for the Trustee is directed

 to serve a copy of this Order and the Claim Forms on all known holders of Gap Claims or Chapter

 11 Administrative Claims in the Chapter 11 Case and all other creditors and parties in interest who

 might assert Gap Claims or Chapter 11 Administrative Claims against the Debtor, and on those

 parties in interest listed on the matrix of creditors in the Case.

                                      *** END OF ORDER ***



 Prepared and Presented By:
 LAW OFFICES OF HENRY F. SEWELL JR., LLC

 By: /s/ Henry F. Sewell, Jr.
 Henry F. Sewell, Jr.
 Georgia Bar No. 636265
 Law Offices of Henry F. Sewell, Jr., LLC
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305
 (404) 926-0053
 hsewell@sewellfirm.com
 Counsel for the Chapter 7 Trustee




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                                    EXHIBIT A
                      Chapter 11 Administrative Claim Form




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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                       :       CASE NO. 22-52950-PMB
                                              :
 ATLANTA LIGHT BULBS, INC.,                   :       CHAPTER 7
                                              :
                Debtor.                       :       JUDGE BAISIER

          REQUEST FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE
                  EXPENSE CLAIM PURSUANT TO 11 U.S.C. § 503

         COMES NOW the claimant identified below and hereby requests the allowance of an
 administrative expense claim pursuant to Section 503 of the Bankruptcy Code, and hereby shows
 the following:

 Name of Claimant:        ___________________________________________________________

 Address of Claimant: ___________________________________________________________
                      ___________________________________________________________
                      ___________________________________________________________

 Phone: _________________                     Email: ___________________________________

 Amount of 11 U.S.C. § 503 Administrative Expense: $________________
         1.    The undersigned holds an administrative expense claim arising on or after May
 23, 2022, through July 6, 2022, pursuant to 11 U.S.C. § 503 in the amount identified above
 against          the           Debtor          in         the          Chapter           11
 Case:_________________________________________________________________________

         2.     The consideration for this debt (or ground for this liability) owed by the Debtor is
 as follows: _____________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________


        3.     The administrative expense is entitled to administrative priority under 11 U.S.C. §
 503(b) and 11 U.S.C. § 507(a)(2) because:____________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
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         4.       A copy of the writing (invoice, purchase order, lease agreement, etc.) on which the
 administrative expense is founded, if any, is attached hereto or cannot be attached for the reason
 set forth in the statement attached hereto.

        5.      The amount of all payments on the administrative expense have been credited and
 deducted for the purpose of making this request.

        6.     The undersigned is aware that under 18 U.S.C. §§ 152 and 3571, the penalty for
 presenting a fraudulent claim in a bankruptcy case includes a fine of up to $500,000 or
 imprisonment for up to five years, or both.

        WHEREFORE, the undersigned requests that the Court allow the administrative expense
 or expenses requested herein, to be paid in accordance with the priorities set forth in the
 Bankruptcy Code and based upon availability of funds.

      YOU ARE ENCOURAGED TO CONSULT YOUR ATTORNEY REGARDING
 THE LAW, YOUR LEGAL RIGHTS, THE MEANING OF TERMS USED IN THE
 BANKRUPTCY CODE, THIS REQUEST FORM AND THE CHAPTER 11 GAP AND
 ADMINISTRATIVE CLAIMS BAR DATE NOTICE.

   Dated: ____________________

                                         Name of Claimant:


                                          Signed:


                                          By (if appropriate):


                                          As Its (if appropriate):


 INSTRUCTIONS: Mail the completed form to: Clerk, United States Bankruptcy Court, Room
 1340, Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW, Atlanta,
 Georgia 30303, so as to be received no later than September 26, 2022. A copy of the completed
 form should also be mailed to counsel for the Trustee at: Law Offices of Henry F. Sewell, Jr., LLC,
 c/o Henry F. Sewell, Jr., Esq., Buckhead Centre, 2964 Peachtree Road NW, Suite 555, Atlanta,
 GA 30305.
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                                    EXHIBIT B
                                  Gap Claim Form
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                        :      CASE NO. 22-52950-PMB
                                               :
 ATLANTA LIGHT BULBS, INC.,                    :      CHAPTER 7
                                               :
                Debtor.                        :      JUDGE BAISIER

             REQUEST FOR ALLOWANCE AND PAYMENT OF GAP CLAIM
                         PURSUANT TO 11 U.S.C. § 502(f)

         COMES NOW the claimant identified below and hereby requests the allowance of a
 gap claim pursuant to Section 502(f) of the Bankruptcy Code, and hereby shows the following:

 Name of Claimant:        ___________________________________________________________

 Address of Claimant: ___________________________________________________________
                      ___________________________________________________________
                      ___________________________________________________________

 Phone: _________________                      Email: ___________________________________

 Amount of 11 U.S.C. § 502(f) Gap Claim: $________________

        1.     The undersigned holds an “Gap Claim” arising in the ordinary course of the
 debtor's business or financial affairs on or after April 15, 2022, through May 22, 2022,
 pursuant to 11 U.S.C. § 502(f) in the amount identified above against the Debtor in the
 Chapter 11 Case:     ___________________________________________________________

         2.     The consideration for this debt (or ground for this liability) owed by the Debtor is
 as follows: _____________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________


        3.     The Gap Claim is entitled to priority under 11 U.S.C. § 502(f) and 11 U.S.C. §
 507(a)(3) because:_______________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
         4.       A copy of the writing (invoice, purchase order, lease agreement, etc.) on which the
 administrative expense is founded, if any, is attached hereto or cannot be attached for the reason
 set forth in the statement attached hereto.
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        5.      The amount of all payments on the gap claim have been credited and deducted for
 the purpose of making this request.

        6.     The undersigned is aware that under 18 U.S.C. §§ 152 and 3571, the penalty for
 presenting a fraudulent claim in a bankruptcy case includes a fine of up to $500,000 or
 imprisonment for up to five years, or both.

         WHEREFORE, the undersigned requests that the Court allow the gap claim requested
 herein, to be paid in accordance with the priorities set forth in the Bankruptcy Code and based
 upon availability of funds.

      YOU ARE ENCOURAGED TO CONSULT YOUR ATTORNEY REGARDING
 THE LAW, YOUR LEGAL RIGHTS, THE MEANING OF TERMS USED IN THE
 BANKRUPTCY CODE, THIS REQUEST FORM AND THE CHAPTER 11 GAP AND
 ADMINISTRATIVE CLAIMS BAR DATE NOTICE.

   Dated: ____________________

                                         Name of Claimant:


                                         Signed:


                                          By (if appropriate):


                                         As Its (if appropriate):


 INSTRUCTIONS: Mail the completed form to: Clerk, United States Bankruptcy Court, Room
 1340, Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW, Atlanta,
 Georgia 30303, so as to be received no later than September 26, 2022. A copy of the completed
 form should also be mailed to counsel for the Trustee at: Law Offices of Henry F. Sewell, Jr., LLC,
 c/o Henry F. Sewell, Jr., Esq., Buckhead Centre, 2964 Peachtree Road NW, Suite 555, Atlanta,
 GA 30305.
